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                                             ORDERED.


      Dated: December 04, 2018




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov


In re :                                                                        Case No. 6:17-bk-06025-KSJ
                                                                               Chapter 7
Eliel Santos and
Sarah Santos,
                       Debtor(s).
______________________________/


 ORDER GRANTING TRUSTEE’S MOTION TO APPROVE CONSENTED SHORT SALE OF
   REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
            INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m)

          This case came on for a hearing on November 27. 2018 at 11:00 a.m., on Trustee’s Motion to
Approve Consented Short Sale of Real Property Free and Clear of Liens, Claims, Encumbrances, and
Interests Pursuant to 11 U.S,C. § 363(b), (f), and (m), dated November 2, 2018, (docket no. 35). Having
reviewed the Motion, the file, and otherwise being advised on the premises,
          Accordingly, it is

1.   ORDERED that the Motion to Approve Consented Short Sale of Real Property Free and Clear of Liens,
     Claims, Encumbrances, and Interests Pursuant to 11 U.S,C. § 363(b), (f), and (m), is approved, and the
     Trustee is authorized to sell the estate’s interest in said property, as follows :

2.   The property to be sold is more particularly described as :
     All that certain Lot, piece or parcel of land, with the buildings and improvements thereon
     erected, situate, lying and being in the City of Rahway, County of Union, State of New Jersey:

     BEING KNOWN AND DESIGNATED AS Lots 36 and 37 in Block 9 as shown on a certain
     map entitled, "Map of Rahway Terrace, Rahway, New Jersey", made by Franklin Marsh,
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    surveyor, dated May 1, 1912, recorded June 20, 1912 in the Union County Clerk's/Register's
    Office as Filed Map No. 178D.

    Being further described as follows:

    BEGINNING at a point in the easterly line of Princeton Avenue (50 feet wide) therein distance
    200.00 feet northerly from the corner formed by the intersection of the said line of Princeton
    Avenue and the northerly line of Grove Street (66 feet wide); thence

    1. Along the line of Princeton Avenue, North 17 degrees 32 minutes East, 50.00 feet to a point;
    thence

    2. South 72 degrees 28 minutes East, 100.00 feet to a point; thence

    3. South 17 degrees 32 minutes West, 50.00 feet to a point; thence

    4. North 72 degrees 28 minutes West, 100.00 feet to the point and place of BEGINNING

    NOTE: Being Lot(s) Lot: 7, Block: 51; Tax Map of the City of Rahway, County of Union,
    State of New Jersey.

    NOTE: Lot and Block shown for informational purposes only.

    Parcel ID No. 05017000
    a/k/a 345 Princeton Ave, Rahway, NJ 07065

    3. The property shall be sold to the following buyer for the sales price indicated :

                                                                                Sales Price
    Bruno N. Moraes                                                             $ 255,000.00
    345 Princeton Ave.
    Rahway, NJ 07065

    4. The Trustee has represented that no closing costs are to be paid by the Estate and Select
Portfolio Servicing (the “Secured Creditor”) has agreed to pay the following : normal closing costs,
real estate taxes, real estate broker commission, municipality fees, and bankruptcy estate carve out as
described in the Motion. Additionally, Secured Creditor has agreed to accept a reduced payoff pursuant
to the letter attached as Exhibit “A: to the Motion.
    5. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the interest
of the estate, subject to all encumbrances, including current taxes, assessments, zoning, restrictions,
and other requirements imposed by governmental authorities, restrictions and other matters appearing
on the plat or otherwise common to the subdivision and/or condominium, and public utility easements
of record.




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    6. The Estate shall provide to buyer, a certified copy of the Order approving sale, certified copy of
Notice of Commencement and certified copy of docket, reflecting no objection to the sale, or if any,
that said objections have been overruled by Court Order.
    7. Notice of the Motion was proper and no response were received. Thus, to the extent any
creditor (other than the Secured Creditor) asserts an interest or secured claim against the
Property, such creditor is deemed to have consented to entry of this Order, and such creditor’s
claim shall not be a secured claim.
    8. The 14-day stay pursuant to Rule 6004(h) is hereby waived.



Attorney Kristen L. Henkel is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.




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